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Curtis R. Hussey, Esq. (USB No. 5488)
Hussey Law Firm, LLC
P.O. Box 1896
Fairhope, Alabama 36532-1896
Telephone: (251) 928-1423
Facsimile: (888) 953-6237
E-mail: chussey@lemberglaw.com

Of Counsel to
Lemberg Law, LLC
A Connecticut Law Firm
1100 Summer Street
Stamford, CT 06905
Telephone: (203) 653-2250
Facsimile: (203) 653-3424

Attorneys for Plaintiff,
Marie Bray
                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF UTAH
                                    NORTHERN DIVISION

Marie Bray,                                          Case No.: 1:14-cv-00127-CW

                   Plaintiff,

       vs.
                                                     NOTICE OF SETTLEMENT
Lexington Law Firm; and DOES 1-10, inclusive,

                   Defendants.



       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The Plaintiff anticipates filing a notice of withdrawal of Complaint and voluntary

dismissal of this action with prejudice pursuant to FED. R. CIV. P. 41(a) within 60 days.
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DATED: February 12, 2015              HUSSEY LAW FIRM, LLC



                                      By: /s/ Curtis R. Hussey
                                      Curtis R. Hussey

                                      Attorney for Plaintiff
                                      Marie Bray


                                        Of Counsel to:
                                        Lemberg Law, LLC
                                        1100 Summer Street, 3rd Floor
                                        Stamford, CT 06905
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 12, 2015, a true and correct copy of the foregoing
Notice of Settlement was served electronically by the U.S. District Court for the District of Utah
Electronic Document Filing System (ECF), which gave notice of such filing to the following:

TIMOTHY W. EMERY
Emery | Reddy, PLLC
600 Stewart Street, Suite 1100
Seattle, Washington 98101
                                                  By:    /s/ Curtis R. Hussey
                                                             Curtis R. Hussey
